Case 14-10398-JDW   Doc 34   Filed 04/26/19 Entered 04/26/19 12:17:30   Desc Main
                             Document     Page 1 of 3


                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF MISSISSIPPI

   RE: WILBER & EARLINE WOOTEN                      CASE NO: 14-10398
          DEBTORS                                   CHAPTER 13


         MOTION TO REINSTATE DISMISSED CHAPTER 13 CASE


         COME NOW the debtors named above and file this their Motion to

   Reinstate Dismissed Chapter 13 Case and for cause would show unto

   this Honorable Court as follows:

         1. An Agreed Order was entered on October 17, 2018 stating that if

   the debtors became more than 30 days delinquent in their plan

   payments the case may be dismissed. The Final Order of Dismissal was

   entered on April 8, 2019, stating the debtors had become more than 30

   days delinquent in Chapter 13 plan payments.

         2. Debtors were notified by the office of the Chapter 13 Trustee

   that they have received the necessary funds to complete the case.

         WHEREFORE PREMESIS CONSIDERED, the debtors respectfully

   request that the Court enter an Order Reinstating the dismissed Chapter

   13 Case and for such other and further relief as this court deems just

   and proper under the circumstances.

                                              Respectfully submitted,



                                        BY:___/s/William L. Fava_
                                        WILLIAM L. FAVA
                                        Attorney for Debtor
Case 14-10398-JDW   Doc 34   Filed 04/26/19 Entered 04/26/19 12:17:30   Desc Main
                             Document     Page 2 of 3


   7165 Swinnea Rd., Bldg. A Ste. 1
   P.O. Box 783
   Southaven, MS 38671
   (662) 536-1116
Case 14-10398-JDW   Doc 34   Filed 04/26/19 Entered 04/26/19 12:17:30   Desc Main
                             Document     Page 3 of 3




                         CERTIFICATE OF SERVICE

         I, William L. Fava, Attorney for Debtors herein, do hereby certify

   that I have this day mailed, by United States mail, postage prepaid, a

   true and correct copy of the above and foregoing Motion to Reinstate

   Dismissed Chapter 13 Case to the following:

   Locke D. Barkley
   Via ECF at sbeasley@barkley13.com

   U.S. Trustee
   Via ECF at USTPRegion05.AB.ECF@usdoj.gov

   All Parties on Attached Matrix

         SO CERTIFIED on this the 26th day of April, 2019.



                                        ____/s/William L. Fava _____
                                        WILLIAM L. FAVA (MSB# 101348)
                                        Attorney at Law

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